Case 3:18-cv-00090-NKM-JCH Document 47 Filed 05/10/21 Page 1 of 10 Pageid#: 354




                                UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Charlottesville Division

 IRA D. SOCOL,                         )
                                       )
                Plaintiff              )
                                       )      Case No.: 3:18cv00090
 v.                                    )
                                       )
 ALBEMARLE COUNTY                      )
 SCHOOL BOARD, et al.                  )
                                       )
                Defendants.            )

      REPLY MEMORANDUM IN SUPPORT OF MOTION FOR PROTECTIVE ORDER
                 AND TO LIMIT DEPOSITION EXAMINATIONS

        Third-party Albemarle County School Board, by counsel, submits this reply

 memorandum in support of its motion for a protective order pursuant to Rule 26(c) of the Federal

 Rules of Civil Procedure.

                                           ARGUMENT

 I.     MR. SOCOL’S DISCOVERY REQUESTS SEEK TO CHALLENGE THE SCHOOL
        BOARD'S DECISION TO TERMINATE HIS EMPLOYMENT.

        Stripped to its most basic layer, the purpose of Mr. Socol's discovery requests to the

 School Board is to gather information that he believes will show that the School Board's decision

 to terminate him was not justified. This Court has already decided that Mr. Socol does not have

 the right to challenge his termination in these proceedings, so such discovery is inappropriate and

 is not germane to any issue remaining in the lawsuit.

        The only questions remaining in this case relate to (1) what Dr. Haas said, (2) why Dr.

 Haas made those statements, (3) whether Dr. Haas was required to provide Mr. Socol with a

 name-clearing hearing before making those statements, and (4) the effects of those statements.
Case 3:18-cv-00090-NKM-JCH Document 47 Filed 05/10/21 Page 2 of 10 Pageid#: 355




 In an attempt to challenge the School Board's decision-making, though, the plaintiff repeatedly

 conflates the actions of Dr. Haas and the School Board throughout his memorandum in

 opposition, arguing that he needs discovery into the School Board's actions to prove his claims

 against Dr. Haas. Dr. Haas and the School Board, however, are not the same.

        In the Complaint, Mr. Socol alleges that Dr. Haas stated that he "misused P-cards

 deliberately and egregiously" and that he "admitted to the conduct in the report." (Compl. ¶¶ 93,

 96.) Based upon those two purported statements, Mr. Socol seeks to turn the School Board's

 inner deliberations inside out to show that he did not act alone in violating the School Board's

 policy (which is not a statement that Dr. Haas is alleged to have made) and that his violations

 were not so bad when compared to other instances of alleged misconduct by other employees

 (and therefore could not be objectively egregious or justify his termination). The claims against

 Dr. Haas, however, have no relation to the School Board's action in terminating Mr. Socol.

        This Court has previously determined that the School Board is not responsible for any

 statement that Dr. Haas may have made related to Mr. Socol's termination, that Mr. Socol does

 not have any property rights in his employment with the School Board, and that Mr. Socol does

 not have any claims against the School Board. Accordingly, this Court should deny Mr. Socol

 the right to challenge the School Board's actions through unnecessary discovery into matters that

 are not germane to Mr. Socol's remaining claims.

        A.      Reasonable discovery issued to Dr. Haas regarding the remaining issues in this
                case will demonstrate that the discovery requested of the School Board is not
                germane to this case.

        Even if Mr. Socol found evidence to support his position that his termination by the

 School Board was not justified, such information is not germane to determining what Dr. Haas

 actually said, what he meant by what he said, or what his state of mind was in making such



                                                  2
Case 3:18-cv-00090-NKM-JCH Document 47 Filed 05/10/21 Page 3 of 10 Pageid#: 356




 statements. Only Dr. Haas can answer those questions – that information cannot be supplied by

 eighteen different School Board employees (or former employees) or boxes of documents about

 every personnel decision made related to Mr. Socol, the School Board's – not Dr. Haas' –

 decision to charter a new high school, the School Board's creation of a subcommittee of

 professionals to build and develop that school, the School Board's promulgation of purchasing

 policies, the School Board's interpretation and enforcement of procurement policies for a five

 year period, or any other decision of the School Board.

        Instead of tilting at windmills to discern the statements Dr. Haas made and the rationale

 for why he made them, Mr. Socol should begin his inquiry by directing such discovery requests

 not to the School Board but instead to Dr. Haas.

        If Mr. Socol first issues discovery to Dr. Haas, he will learn what Dr. Haas said to Dr.

 Moran and the circumstances under which those statements were made. He will learn that Dr.

 Haas unequivocally believes that Mr. Socol violated the School Board's purchasing policies and

 the reasonable bases for Dr. Haas’ belief. He will learn that Dr. Haas' belief is founded upon

 statements made to the School Board by the County's Purchasing Agent and County Attorney

 and that those statements are the very same statements that the Purchasing Agent and County

 Attorney first made to Mr. Socol when they advised him that his purchases were in violation of

 the School Board's purchasing policy.

        If Mr. Socol first issues discovery to Dr. Haas, he will learn that Dr. Haas' belief that Mr.

 Socol violated the School Board's purchasing policies is also based upon Mr. Socol's email

 admission to Dr. Haas while the School Board was voting on whether to ratify Mr. Socol's

 purchases (which ratification would not have been necessary if the purchases were made in




                                                    3
Case 3:18-cv-00090-NKM-JCH Document 47 Filed 05/10/21 Page 4 of 10 Pageid#: 357




 compliance with policy) in which Mr. Socol acknowledged fault, offered to resign, and began

 preparations for returning the furniture to the vendors.

        If Mr. Socol first issues discovery to Dr. Haas, he will learn that the School Board

 instructed Dr. Haas to conduct an investigation into the concerns relayed by the County's

 Purchasing Agent and County Attorney, which he did, and that Dr. Haas' concerns were

 heightened by Mr. Socol's apparent efforts to avoid being interviewed by human resources

 personnel for weeks.

        If Mr. Socol first issues discovery to Dr. Haas, he will learn that the report from human

 resources only confirmed that Mr. Socol admitted in his interview to the conduct that the

 County's Purchasing Agent and County Attorney previously outlined to both Mr. Socol and the

 School Board as violating the School Board's purchasing policies and that Mr. Socol himself

 acknowledged in his email to Dr. Haas.

        If Mr. Socol first issues discovery to Dr. Haas, he will learn what weight, if any, Mr.

 Socol's previous personnel decisions had on Dr. Haas' belief that Mr. Socol's policy violations

 were deliberate and egregious.

        If Mr. Socol first issues discovery to Dr. Haas, he will learn what weight, if any, Dr. Haas

 placed on rumors of violations of the purchasing policies by other personnel in forming his belief

 that Mr. Socol's actions were deliberate and egregious.

        If Mr. Socol first issues discovery on these issues to Dr. Haas, he will learn that none of

 his concerns about the School Board's decision-making – or the School Board's official position

 on these issues – are germane to his claims against Dr. Haas.

        B.      The question of whether Mr. Socol acted "unilaterally" is not a genuine issue in
                this case.




                                                  4
Case 3:18-cv-00090-NKM-JCH Document 47 Filed 05/10/21 Page 5 of 10 Pageid#: 358




        Assuming for the sake of argument that Mr. Socol is correct that the entire Steering

 Committee met and decided to violate the School Board's purchasing policies, it does not change

 the fact that Mr. Socol is the one who engaged in the conduct that gave rise to his discipline. Mr.

 Socol does not genuinely contest that he used his department's P-cards to make the purchases

 that the County's Purchasing Agent and County Attorney determined were in violation of the

 School Board's purchasing policy. Whether Mr. Socol had the support of his colleagues in

 violating the policy is of not material to the claims against Dr. Haas in this case.

        Mr. Socol's argument is similar to that of the motorists who plead with police officers

 who pull them over for speeding not to give them a speeding ticket because others were also

 speeding, or they were "just going with the flow of traffic." That others were also violating the

 law does not nullify the violation of the motorist who was caught and punished. Similarly, even

 if other School Board employees violated the purchasing policy or even supported Mr. Socol's

 violation of the policy, such violations would not nullify Mr. Socol's violation or establish that

 Dr. Haas’ belief that Mr. Socol committed such violation was not accurate.

        For the purpose of this lawsuit, however, the question of whether the School Board was

 justified in "pulling over" Mr. Socol for his violation is not an issue before the Court in this case.

 As such, inquiry into Mr. Socol's personnel history and the School Board's interpretation and

 enforcement of its purchasing policy – which could be relevant to a challenge of the School

 Board’s personnel decision if such claim was viable in this case – is not germane to the

 underlying issues in this lawsuit related to what Dr. Haas said, why he made those statements,

 whether he should have provided Mr. Socol with a name-clearing hearing prior to making those

 statements, or the impact of those statements.

        C.      The School Board's investigation into Mr. Socol's use of his department's P-cards
                to violate the purchasing policy is not a genuine issue in this case.

                                                   5
Case 3:18-cv-00090-NKM-JCH Document 47 Filed 05/10/21 Page 6 of 10 Pageid#: 359




        Mr. Socol states that he needs discovery into the investigation that gave rise to the report

 issued by the human resources department to prove that the allegations related to his violation of

 the purchasing policies is a lie. He states,

                While Mr. Socol disputes the finding of the report, there is no
                question that ACPS itself relied on the report in making the
                decision to terminate Mr. Socol for his alleged misconduct. Surely
                the Board cannot now take the position that there is no relationship
                between the report, and the investigation upon which it is based,
                and Mr. Socol's alleged misconduct. Accordingly, the report and
                the investigation upon which it is based, which are among the
                matter [sic] identified in item a of the Designation, are relevant to
                Mr. Socol's claims.

 Memo in Opp., p. 11. Mr. Socol's argument could be persuasive if (a) the School Board's

 termination of Mr. Socol was an issue in this case or (b) the School Board was a party to this

 case. Neither are true. Dr. Haas is not the School Board, and the School Board is not Dr. Haas.

 The claims against Dr. Haas have no relation to the School Board's action in terminating Mr.

 Socol. This Court has previously determined that the School Board is not responsible for any

 statement that Dr. Haas may have made related to Mr. Socol's termination, that Mr. Socol does

 not have any property rights in his employment with the School Board, and that Mr. Socol does

 not have any claims against the School Board. Accordingly, this Court should deny Mr. Socol

 the right to challenge the School Board's actions through unnecessary discovery into matters that

 are not germane to Mr. Socol's remaining claims.

        D.      The make-up, charter, and decision-making of the Steering Committee is not a
                genuine issue in this case or relevant to Mr. Socol's claims.

        Mr. Socol seeks broad discovery into the creation and actions of the Steering Committee

 in an asserted attempt to show that his actions in violating the School Board's policies could not

 be deliberate or egregious because the Steering Committee had tremendous pressure to

 accomplish the monumental task of opening a new school in a limited time under a tight budget.

                                                  6
Case 3:18-cv-00090-NKM-JCH Document 47 Filed 05/10/21 Page 7 of 10 Pageid#: 360




        Mr. Socol's attempts miss the mark. As a fundamental matter, violations of a purchasing

 policy – which is modeled after the Virginia Public Procurement Act and designed to force

 public employees to be good stewards of the public purse – do not cease to be violations simply

 because the violator believed himself to be justified in making the purchases in violation of the

 policy because the purchases had to be made quickly or on a budget. Mr. Socol's argument for

 violating the policy is nothing more than the excuse that he could not meet the challenges of the

 task while working under pressure. Such facts – even if they could be proven – do nothing to

 establish that his violations were not deliberate or egregious.

        Even if this Court granted Mr. Socol unlimited discovery into every action ever taken by

 the School Board in creating the Steering Committee and every subsequent action taken by every

 member of the Steering Committee in furtherance of the Committee's goals, none of the

 discovery would prove or tend to prove – or disprove – whether Mr. Socol's actions were

 deliberate or egregious. Such discovery, however, would impose a tremendous burden on the

 School Board. As such, it is not proportional to the needs of this case and should not be allowed.

        Moreover, if Mr. Socol is arguing at this stage of the proceedings that his actions in

 violating the policies, instead of being deliberate and egregious, were "a good faith response to

 the unusual challenges presented in trying to stand up an entire school in less than a year," he has

 already lost his case. Memo in Opp., p. 12. Instead of arguing facts that are provable or

 disprovable, Mr. Socol is no longer arguing whether Dr. Haas’ statements were false because his

 actions do not constitute misconduct under the policy. Instead, he is arguing opinion – that his

 misconduct – while a violation of policy – is not "egregious and warranting discipline" but is,

 instead, "something merely to be ratified and overlooked, even if technically in violation of




                                                   7
Case 3:18-cv-00090-NKM-JCH Document 47 Filed 05/10/21 Page 8 of 10 Pageid#: 361




 policy." Opinions on matters of degree are still opinions and are not actionable. As such, Mr.

 Socol's arguments prove why such discovery is not warranted under the facts of this case.

 II.     GOOD CAUSE EXISTS TO LIMIT THE PROPOSED DISCOVERY

         As stated above, the requested information is not germane to the issues remaining in this

 case. Moreover, the requested information, even if deemed to be germane, is exceedingly overly

 broad both in scope and in requested timeframe. As such, it is not proportional to the needs of

 this case.

         In response to the School Board's concerns about the length of time that it would take to

 prepare designees to testify and that preparing them would effectively require them to cease

 performing the jobs for which they were hired, Mr. Socol takes the position that such an

 imposition is warranted on a third party because the School Board manages a large operational

 budget, retains highly skilled professionals, and maintains documents in accordance with the

 law. By that argument, Mr. Socol would be justified in taking the corporate deposition of

 Microsoft because that company developed the software which was used to generate the

 spreadsheets for the furniture purchases in this case or Wayfair because that company supplied

 the furniture that was purchased using the P-cards. Those companies also have very large

 operational budgets, retain highly skilled professionals, and maintain documents in accordance

 with various laws. Nevertheless, this Court would not hesitate to find that such discovery would

 be unwarranted by the facts of this case. The burden on the School Board, as a third party to the

 litigation, is likewise not warranted considering the nature of the remaining claims.

         Moreover, the plaintiff has not addressed the concerns about the confidential personnel

 files that it seeks related to investigations and disciplinary actions for other, unrelated, third party

 employees and former employees. Such an intrusion into the confidentiality of those employees



                                                    8
Case 3:18-cv-00090-NKM-JCH Document 47 Filed 05/10/21 Page 9 of 10 Pageid#: 362




 and former employees is not warranted as it serves no purpose other than to harass and burden

 unrelated third parties who have no interest in the litigation. (Decl. ¶ 21.)

        Further, the plaintiff has also not addressed the fact that he intends to separately depose

 Ms. Snoddy and Ms. Collins – another Steering Committee member – as fact witnesses, which

 would likely require those third parties to submit to two depositions on subject matters that are

 largely not relevant to the case.

        Finally, with respect to paragraph (c) of the Designation, the School Board notified the

 plaintiff more than a year prior to the issuance of the Rule 30(b)(6) notice that procurements and

 application of the Virginia Public Procurement Act and the Albemarle County Purchasing

 Manual are handled by the Purchasing Department of Albemarle County. The School Board

 cannot compel the employee of a third party to provide testimony on its behalf. (Decl. ¶ 23.) The

 plaintiff has not indicated that he is withdrawing his request for such depositions.

        Because the requested discovery is not proportional to the needs of the case, the School

 Board requests that the deposition topics be limited.

                                           CONCLUSION

        For the foregoing reasons, third-party Albemarle County School Board, by counsel,

 requests that its motion be granted, that the topics of depositions for all School Board employees

 be limited as requested, for an award of its fees incurred in pursuing this motion, and for such

 other and further relief as the nature of this case may require.

                                                         Respectfully submitted,

                                                         ALBEMARLE COUNTY SCHOOL
                                                         BOARD


                                                          /s/ Jennifer D. Royer
                                                         Jennifer D. Royer, VSB # 68099

                                                   9
Case 3:18-cv-00090-NKM-JCH Document 47 Filed 05/10/21 Page 10 of 10 Pageid#: 363




                                                    ROYER LAW FIRM, P.C.
                                                    Post Office Box 4525
                                                    Roanoke, Virginia 24015
                                                    540-788-2982 Telephone
                                                    540-675-4093 Facsimile
                                                    jroyer@royerlawfirm.com
                                                    Counsel for Albemarle County School
                                                    Board


                                  CERTIFICATE OF SERVICE

          I hereby certify that on the 10th day of May, 2021, I have electronically filed this
  document with the Clerk of the Court using the CM/ECF system, which will send notification of
  such filing to the following:

  Jeffrey R. Adams
  Lucas I. Pangle
  Wharton, Aldhizer & Weaver, PLC
  125 S. Augusta Street
  Staunton, Virginia 24401


                                                            /s/ Jennifer D. Royer
                                                           Jennifer D. Royer, VSB # 68099
                                                           ROYER LAW FIRM, P.C.
                                                           PO Box 4525
                                                           Roanoke, Virginia 24015
                                                           540-788-2982 Telephone
                                                           540-675-4093 Facsimile
                                                           jroyer@royerlawfirm.com
                                                           Counsel for Albemarle County
                                                           School Board




                                               10
